                              Case 2:17-cv-03653-JP Document 1 Filed 08/14/17 Page 1 of 16

  JS 44 (Rev. 06/17)

_ The JS 44 civil cover sheet and the info
  provided by local mies of court. This
  purpose of initiating the civil dockets

  I. (a) PLAINTIFFS
  Winnie Nichols and Brian Gary Nichols
                                                  e
                                                  .
                                                  r
                                                                            CIVIL COVER SHEET
                                                          ontained herein neither re lace nor sup lement the filing and service of pleadings or other papers as required by law, except as
                                                          oved by the Judicial Con?erence of the \1nited States in September 1974, is required for the use 9.\}h9,Per~of~.urt for the
                                                         E/NSTRUCT/ONSONNEXTPAGEOFTHISFORM.)

                                                                                                               DEFENDANTS
                                                                                                                                                      •       .-,,              'U_N    ;. '
                                                                                                                                                                                                   1
                                                                                                                                                                                                   '




       (b) County of Residence ofFirst Listed Plaintiff                                                                                                                            -r-·~-                          --·------
                       ;         (EXCEPT IN U.S. PLAINT/,
                                                                                                               NOTE:


                                                                                                                Attorneys (If Known)
  John F. Fox, Jr., Esquire (Fox Law, P.C.
  Meeting, PA 19462 - 215-568-6868

                                                  (Place an '"X"' in One Box Onl;~               III. CITIZENSHIP OF PRINC                                           ARTIES (Place an       '"X"' in One BoxJf P,
                                                                                                                                                                                    and One Box for Defendant
  0 I    U.S. Government                                                                                                                                                                              PTF
            Plaintiff                            (U.S. Government Not a Party)                       Citizen of This State                                        orporated or Principal Place         0 4
                                                                                                                                                                 of Business In This State

  0 2    U.S. Government                       Diversity                                             Citizen of Another State                                  'Incorporatedand Principal Place                0   s
            Defendant                            (Indicate Citizenship ofParties in Item Ill}

                                                                                                     Citizen or Subject of a
                                                                                                                                                  -
                                                                                                                                                  0       3
                                                                                                                                                                  of Business In Another State

                                                                                                                                                               Foreign Nation                                  0   6   0 6
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  IV. NATURE OF                           ace an "X" in One Box Only)                                                                             Click here for: Nature of Suit Code Descriotions.
             CONTRACT                                        ·,TORTS                                  ! FORFEITURE/PENALT                             BANKRUPTCY                   I           OTHER STATUTES
  0   110 Insurance                       PERSONAL IN.JURY               PERSONAL INJURY             0 62S Drug Related Seizure              0 422 Appeal 28 USC 1S8                   0 37S False Claims Act
  0   120Mmine                        0   310 Airplane                0 36S Personal Injury -              of Property 21USC881              0 423 Withdrawal                          0 376 Qui Tam (31 USC
  0   130 Miller Act                  0   3 JS Airplane Product              Product Liability       0 690 Other                                   28 USC IS7                                 3729(a))
  0   140 Negotiable Instrument                Liability              0 367 Health Care/                                                                                               O 400 State Reapportionment
  0   ISO Recovery of Overpayment     0   320 Assault. Libel &              Pharmaceutical                                                     PROPERTY RIGHTS                         0 410 Antitrust
          & Enforcement of Judgment            S)ander                      Personal Injury                                                  0 820 Copyrights                          0 430 Banks and Banking
  0   1S1 Medicare Act                0   330 Filderal Employers'           Product Liability                                                0 830 Patent                              0 4SO Commerce
  0   1S2 Recovery of Defaulted                  ability              0 368 Asbestos Personal                                                0 83S Patent -Abbreviated                 0 460 Deportation
          Student Loans                                                      Injury Product                                                        New Drug Application                0 470 Racketeer Influenced and
          (Excludes Veterans)                                                Liability                                                       0 840 Trademark                                 Corrupt Organizations
  0   1S3 Recovery of Overpayment                                      PERSONAL PROPERTY            ·•        L·ABOR                           SOCIAL SECURITY                         0 480 Consumer Credit
          of Veteran's Benefits                                       0 3700thcrFraud         0 710FairLaborStandards                        0 861 HJA(J39Sft)                         0 490Cablc/SatTV
  0   160 Stockholders' Suits                                         0 371 Truth in Lending             Act                                 0 862 lJlack Lung (923)                   O 8SO Securities/Commodities/
  0   190 Other Contract                      Product Liability       0 380 Other Personal    0 720 Labor/Management                         0 863 DlWC/DIWW (40S(g))                         Exchange
  0                                   0 :\()O Other Personal                Property Damage              Relations                           0 864 SSID Title XVI                      0 890 Other Statutory Actions
  0 196 Franchise                             Injury                  0 38S Property Damage   0 740 Railway Labor Act                        0 86S RSI (40S(g))                        0 891 Agricultural Acts
                                         362 Personal ![\jury •             Product Liability 0 7S I Family and Medical                                                                0 893 Environmental Matters
                                              Medical Malpractice                                        Leave Act                                                                     O 89S Freedom of Information
        .. REAL PROPERTY· • ''c'·       • CIVIL RIGHTS' •, •;;. ·· · . PRISONER PETITIONSr,;; 0 790 Other Labor Litigation       .·FEDERAL TAX SUITS                                         Act
  0   210 L'md Condemnation           0 440 Other Civil Rights          Habeas Corpus:        0 791 Employee Retirement        0 870 Taxes (U.S. Plaintiff                             0 896 Arbitration
  0   220 Foreclosure                 0 441 Voting                   0 463 Alien Detainee               Income Security Act           or Defendant)                                    0 899 Administrative Procedure
  0   230 Rent Lease & Ejectment      0 442 Employment               0 SIO Motions to Vacate                                   0 871 IRS-Third Party                                         Act/Review or Appeal of
  0   240 Torts to Land               0 443 Housing/                       Sentence                                                   26 USC 7609                                            Agency Decision
  0   24S Tort Product Liability              Accommodations         0 530 General                                                                                                     0 9SO Constitutionality of
  0   290 All Other Real Property     fJ 44S Amer. w/Disabilities - 0 53S Death Penalty        · '·• . 'IMMIGRATION         ·                                                                State Statutes
                                              Employment                Other:                0 462 Naturalization Application
                                      0 446 Amer. w/Disabilities - 0 S40 Mandamus & Other     0 46S Other Immigration
                                             Other                   0 SSO Civil Rights                 Actions
                                      0 448 Education                0 SSS Prison Condition
                                                                     0 560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement

          RIG IN    (Place an "X" in One Box Only)
         Original          0 2 Removed from                0    3   Remanded from               0 4 Reinstated or      0 S Transferred from                   0 6 Multidistrict                        0 8 Multidistrict
         Proceeding            State Court                          Appellate Court                  Reopened                   Another District                      Litigation -                          Litigation -
                                                                                                                                (speci.fY)                            Transfer                              Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Do not cite juri.<dictimtal statutes unless diversity):
                                           28 U.S.C.Section 1332 - Diversit
                                           Brief description of cause:
                                              MVA caused bv Defendants
 VII. REQUESTED IN                        0    CHECK IF THIS IS A CLASS ACTION                         DEMAND $                                           CHECK YES only if d                  an ed in complaint:
      COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                           In Excess of                     75 000                 JURY DEMAND:                         ~       es     ONo
 Vlll. RELATED CASE(S)
                                              (See instructions):
       IF ANY                                                                                                                                  DOCKET NUMBER
 DATE                                                                                                EYOFRECORD
            - Jo ... 17
      RECEIPT#                  AMOUNT                                                                                       JUDGE                                    MAG.JUDGE




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                               Case 2:17-cv-03653-JP Document 1 Filed 08/14/17 Page 2 of 16

                                                            i
                                                                      UNITED STATES DISTRICT COURT                                    /7-            3b~3
.~
     FOR THE EASTERN DISTRICT OF PENN
     assignment to appropriate calendar.

     Address of Plaintiff:
                                                       d          IA - DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of


                               1395 Bally Bunion Drive, Egg Harbor City, N.J. 08215
                                                                                                                                              n oe~
                                                                                                                                              """            ~3 ij
                                                                                                                                                                   ..   ,.~

                                                                                                                                                                      c5;:
     AddressofDefendant:       54 Red Rose Drive, Levittown, PA 19056
     PlaceofAccidcnt,IncidentorTransaction:              WB on PA Turnpike at MM 340.5 Upper Dublin Twp.' MC, PA
                                                                             (Use Reverse Side For Additional Space)

     Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation ownin(10% or more of its stock?
          (Attach two copies of the Disclosure Statement Fom1 in accordance with Fed.R.Civ.P. 7.l(a))                                 YesD /Nor:JJ,/"

     Does this case involve multidistrict litigation possibilities?                                                                   YesD
     RELATED CASE. IF ANY:
     Case Number:                                       Judge                                             Date Terminated:------\~-~-------------

     Ci vii cases are deemed related when yes is answered to any of the following questions:

     1. Is this case related to property included in an earlier numbered suit pending or within one year previously tern1inated action in this court?   /
                                                                                                                                     YesD      NoJ:91'
     2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
        action in this court?                                                                                                                         /
                                                                                                                                     YesD         Nos;(
     3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previo~y
          terminated action in this court?                                                                                           YesD         Noc¥'

     4. ls this case a second or successive habeas corpus, social security appeal, or prose civil rights case filed by the same individual?
                                                                                                                                     YesD         No/


     CIVIL: (Place    t/ in ONE CATEGORY ONLY)
     A Federal Question Cases:                                                                               B.   Diversity Jurisdiction Cases:
      1. o Indemnity Contract, Marine Contract, and All Other Contracts                                      1. o Insurance Contract and Other Contracts

      2. o FELA                                                                                              2       Airplane Personal Injury
      3. o Jones Act-Personal Injury                                                                         3         ssault, Defamation
      4. o Antitrust                                                                                                    arine Personal Injury
      5. o Patent                                                                                            5.         otor Vehicle Personal Injury
      6. o Labor-Management Relations                                                                        6.        ther Personal Injury (Please specify)
      7. o Civil Rights                                                                                      7. o Products Liability
      8. o Habeas Corpus                                                                                     8. o Products Liability -            Asbestos
      9. o Securities Act(s) Cases                                                                           9. o All other Diversity Cases
     10. o Social Security Review Cases                                                                               (Please specify)
     11. o All other Federal Question Cases
                (Please s p e c i f y ) - - - - - - - - - - - - - - - - - -

                                                                        ARBITRATION CERTIFICATION
                                                                              (Check Appropriate Categ01y)
     I,                                                          , counsel of record do hereby certify:
        o Pursuant to Local Civil Rule 53.2, Section 3(c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
     $150,000.00 exclusive of interest and costs;
        D Relief other than monetary damages is sought.



     DATE:_~---~-~-
                                                              Attorney-at-Law                                                           Attorney l.D.#
                                             NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

     I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
     except as noted above.

     DATE:        8~t1J-f]                                             :!:JI'-/                                                          .3.l.8.5A
                                                                                                                                         Attorney l.D.#
     ClV. 609 (5/2012)
                                                                                                                                                AUG 14 2017
                 Case 2:17-cv-03653-JP Document 1 Filed 08/14/17 Page 3 of 16

                        .:~;
                          ..::.•
                        ~W . IN THE UNITED STATES DISTRICT COURT
                       ~~ OR THE EASTERN DISTRICT OF PENNSYLVANIA
                          CASE MANAGEMENT TRACK DESIGNATION FORM

Winnie Nichols and                                                              CIVIL ACTION
Brian Gary Nichols
                                   v.
                                                                                   t'l          3653
Paulina Bartolewski, Gianna                                                     NO.
Utility Construction and Kevin Crocker
   In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
   plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
   filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
   side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
   designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
   the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
   to which that defendant believes the case should be assigned.

    SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

    (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                            ( )

    (b) Social Security - Cases requesting review of a decision of the Secretary of Health
        and Human Services denying plaintiff Social Security Benefits.                                 ( )

    (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.     ( )

    (d) Asbestos - Cases involving claims for personal injury or property damage from
        exposure to asbestos.                                                                         ( )

    (e) Special Management- Cases that do not fall into tracks (a) through (d) that are
        commonly referred to as complex and that need special or intense management by
        the court. (See reverse side of this form for a detailed explanation of special
        management cases.)                                                                            ( )

    (f) Standard Management - Cases that do n: fall into any one of the other tracks.            •   fr'J
      JJ-/ 0-\\
    Date
                                        ~·.J"f         .i
                                         Attorney-at-law
                                                                           John F. Fox, Jr.,MqVe
                                                                            Attorney for Plaintiffs
        215-568-6868                    215-568-2352                        JohnFox@JFoxLaw.Com

    Telephone                            FAX Number                        E-Mail Address


    (Civ. 660) 10/02




                                                                                         AUG 14 2017.
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                         l~
                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WINNIE NICHOLS
1395 BALLY BUNION DRIVE                                    CIVIL ACTION
EGG HARBOR CITY, NJ 08215
            and
BRIAN GARY NICHOLS
1395 BALLY BUNION DRIVE
EGG HARBOR CITY, NJ 08215                                               1?           3653
            vs.

PAULINA BARTOLEWSKI
54 RED ROSE DRIVE                                          NO.
LEVITTOWN, PA 19056
            and
GIANNA UTILITY CONSTRUCTION
9 RED ROSE DRIVE
LEVITTOWN, PA 19056
            and
KEVIN CROCKER
9 RED ROSE DRIVE                                           JURY TRIAL DEMANDED
LEVITTOWN, PA 19056

                              COMPLAINT IN CIVIL ACTION

       Plaintiffs Winnie Nichols and Brian Gary Nichols, by and through their undersigned

counsel, herby file their complaint against defendants Paulina Bartolewski, Gianna Utility

Construction, and Kevin Crocker, herein collectively referred to as "Defendants", as follows:

       1.     The plaintiff Winnie Nichols is an adult individual who resides at 1395 Bally

Bunion Drive, Egg Harbor City, New Jersey 08215.

       2.     The plaintiff Brian Gary Nichols is an adult individual who resides at 1395 Bally

Bunion Drive, Egg Harbor City, New Jersey 08215.

       3.     Plaintiff Brian Nichols is married to plaintiff Winnie Nichols.

       4.     Defendant Paulina Bartolewski is an adult individual who resides at 54 Red Rose

Drive, Levittown, PA 19056. Upon information and belief, defendant Paulina Bartolewski was

                                                1
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 operating a black 2014 Dodge Ram in the regular course of her employment and/or agency

 relationship with co-defendants Gianna Utility Construction and Kevin Crocker.

        5.      Defendant Kevin Crocker is an adult individual who resides at 9 Red Rose Drive,

Levittown, PA 19056. Upon information and belief, defendant Kevin Crocker was the employer

of defendant Paulina Bartolewski and owned the black 2014 Dodge Ram involved in this

accident.

        6.      Defendant Gianna Utility Construction is a corporation organized and existing

under the laws of the Commonwealth of Pennsylvania with a principal place of business located

at 9 Red Rose Drive, Levittown, PA 19056. Upon information and belief, defendant Gianna

Utility Construction was the employer of defendant Paulina Bartolewski and owned the black

2014 Dodge Ram involved in this accident.

                                          JURISDICTION

       7.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §1332 as the parties are

domiciled in different states and the amount in controversy, exclusive of costs and interests,

exceeds the sum of $75,000.

       8.      Venue is proper in this judicial district pursuant to 28. U.S. C. § 13 91 (c) as the

defendants either reside or conduct substantial business in the Eastern District of Pennsylvania,

and the acts giving rise to this claim, including the accident in question, occurred in the Eastern

District of Pennsylvania.

                              FACTS APPLICABLE TO ALL COUNTS

       9.      On or about August 25, 2015, at approximately 9:48 a.m., plaintiff Winnie

Nichols was lawfully operating her vehicle in the westbound direction on the Pennsylvania

Turnpike at mile marker 340.5, Upper Dublin Township, Montgomery County, Pennsylvania.



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At the aforesaid time and place, plaintiff Winnie Nichols was travelling in the left hand lane on

the Pennsylvania Turnpike.

        10.      At the aforesaid time and place, defendant Paulina Bartolewski was operating a

black 2014 Dodge Ram, owned by defendants Gianna Utility Construction and/or Kevin

Crocker, traveling in the left lane behind the vehicle operated by plaintiff Winnie Nichols, and

suddenly began to tailgate the vehicle operated by plaintiff Winnie Nichols, simultaneously

flashing her high beams so that plaintiff Winnie Nichols would move her vehicle from the left

lane to the middle lane.

        11.     Plaintiff Winnie Nichols could not move her vehicle from the left lane to the

middle lane due to traffic in the middle lane. Defendant Paulina Bartolewski continued to

tailgate plaintiff Winnie Nichols' vehicle and flash her high beams.

        12.     At the aforesaid time and place, defendant Paulina Bartolewski swerved her

vehicle from the left lane into the middle lane, passing the vehicle operated by plaintiff Winnie

Nichols, who was still travelling in the left lane.

        13.     Defendant Paulina Bartolewski then negligently, recklessly and suddenly swerved

from the middle lane back into the left lane, thereby cutting in front of plaintiff Winnie Nichols,

causing impact to plaintiff Winnie Nichols' right front quarter panel and the rear of defendants'

left rear quarter panel.

        14.     Despite defendant Paulina Bartolewski knowing that her vehicle impacted the

vehicle operated by Winnie Nichols, defendant Paulina Bartolewski did not stop and continued

traveling down the Pennsylvania Turnpike.

        15.     The impact caused plaintiff Winnie Nichols to suffer serious injuries which are set

forth below.



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                                   COUNT I
         PLAINTIFF WINNIE NICHOLS V DEFENDANT PAULINA BARTOLEWSKI


        16.     Plaintiffs incorporate by reference paragraphs 1 through 14 inclusive of their

complaint as if fully set forth herein at length.

        17.     At all times material hereto, defendant Paulina Bartolewski owed a duty to

plaintiff Winnie Nichols to act in a manner consistent with that of a motorist of reasonable

prudence.

       18.      The negligence, carelessness, and recklessness of defendant Paulina Bartolewski

acting as aforesaid, consisted of the following:

                (a) Operating said vehicle in a careless, negligent and reckless manner, to wit,

                   improperly tailgating the vehicle operated by plaintiff Winnie Nichols;

                   traveling past her in the middle lane at an excessive rate of speed, and then

                   suddenly and without warning attempt to cut back in front of plaintiffs

                   vehicle as defendant Pauline Bartolewska tried to squeeze her vehicle between

                   another vehicle travelling in the middle lane and plaintiffs Winnie Nichol's

                   vehicle;

                (b) Operating said vehicle without due regard for the rights, safety, and position

                   of plaintiffs vehicle, thereby causing the collision;

                (c) Failing to have said vehicle under full, proper, and adequate control so as to

                   prevent the vehicle from colliding with Plaintiffs vehicle;

                (d) Operating said vehicle at an unsafe and excessive rate of speed;

                (e) Operating said vehicle at a speed which was excessive under the

                   circumstances.



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               (f) Failing to properly operate and control said vehicle so that it would not

                   become a hazard;

               (g) Operating said vehicle in an inattentive manner and/or while distracted;

               (h) Failing to keep a proper lookout and observation;

               (i) Failing to stop or slow said vehicle to avoid a collision;

               (j) Failing to keep a safe distance from other vehicles on the roadway;

               (k) Failing to maintain a safe distance between said vehicle and the Plaintiffs

                   vehicle;

               (1) Failing to reasonably respond to the actions of a fellow motorist;

               (m)Operating said vehicle in a manner not consistent with the conditions then and

                   there existing;

               (n) Operating said vehicle in derogation of the duties imposed upon a motorist

                   proceeding upon public roads/highways;

               (o) Failing to stop after she knew she hit plaintiffs vehicle, leaving the scene of

                   the accident.

               (p) Violating the Rules of the Road and the laws of the Commonwealth of

                   Pennsylvania governing the operation of motor vehicles on its streets and

                   highways, which constitutes negligence per se;

       19.     The aforesaid actions of defendant Paulina Bartolewski as described above

constitutes a reckless disregard for the rights of motorists on the highway including plaintiff

Winnie Nichols.

       20.     Solely as a result of the negligence, carelessness, and recklessness of defendant

Paulina Bartolewski, plaintiff Winnie Nichols has suffered injuries which are serious and



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permanent in nature, including but not limited to a C4-5 bulge, C5-6 right herniation with

annular tear, and C6-7 left herniation resulting in a C5-6 and C6-7 anterior cervical discectomy

and fusion and instrumented arthrodesis. Plaintiff Winnie Nichols also suffered a Tl-2

herniation; bulging disc annuli at L3-4, L4-5 and L5-S 1; low back pain with bilateral lumbar

radiculopathy; cervicalgia with bilateral cervical radiculopathy and scarring on her neck from the

cervical discectomy, which injuries have caused her to seek medical treatment.

        21.     As a result of the negligence, carelessness, and recklessness of defendant Paulina

Bartolewski, plaintiff Winnie Nichols has been or will be required to receive and undergo

medical attention and to expend various sums of money and to incur various expenses and she

will be required to continue to expend such sums or incur such expenditures for an indefinite

time in the future.

        22.     As a result of the negligence, carelessness, and recklessness of defendant Paulina

Bartolewski, plaintiff Winnie Nichols has a medically determined physical impairment which

prevents plaintiff Winnie Nichols from adequately performing all or substantially all of the

material acts and duties which constitute plaintiff Winnie Nichols's usual customary activities

prior to the accident.

        23.     As a further result of the negligence, carelessness, and recklessness of defendant

Paulina Bartolewski, plaintiff Winnie Nichols has or may hereinafter incur other financial

expenses which do or may achieve amounts that plaintiff Winnie Nichols may otherwise be

entitled to recover including payment for medical bills.

        24.     As a direct result of the negligence, carelessness, and recklessness of defendant

Paulina Bartolewski, plaintiff Winnie Nichols has or may hereinafter suffer severe physical pain,




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mental anguish, humiliation, embarrassment and scarring and she will continue to suffer same

for an indefinite time in the future.

        25.     As a further result of the negligence, carelessness, and recklessness of defendant

Paulina Bartolewski, plaintiff Winnie Nichols suffered a loss of life's pleasures which may

continue into the future.

        26.     As a further result of the negligence, carelessness, and recklessness of defendant

Paulina Bartolewski, plaintiff Winnie Nichols has and may continue to suffer severe loss of her

earnings and an impairment of earning capacity and power.

        WHEREFORE, plaintiff Winnie Nichols demands judgment in her favor and against

defendant Paulina Bartolewski, in an amount in excess of $75,000 plus punitive damages, costs,

expenses, attorney's fees and other amounts deemed appropriate by this Honorable Court.

                                     COUNT II
               PLAINTIFF WINNIE NICHOLS V DEFENDANT GIANNA UTILITY
                                CONSTRUCTION

       27.      Plaintiffs incorporate by reference paragraphs 1through26 inclusive of their

complaint as if fully set forth herein at length.

       28.      At all times material hereto, defendant Gianna Utility Construction negligently

and carelessly hired, trained, retained, and entrusted Defendant Paulina Bartolewski, to operate

the vehicle owned by Defendant Gianna Utility Construction.

       29.      Defendant Gianna Utility Construction is derivatively and vicariously liable for

the negligent, careless, and reckless conduct, including conduct that showed a reckless disregard

to the rights of plaintiff Winnie Nichols, of its agent, servant, and/or employee, Defendant

Paulina Bartolewski, as stated herein, pursuant to the principles of agency, vicarious liability,

and/or respondeat superior.


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        30.      Defendant Gianna Utility Construction's direct negligence and carelessness

consisted of the following:

                 (a) Failing to hire competent and safe employee/drivers;

                 (b) Failing to properly train such employee drivers;

                 (c) Hiring, retaining and entrusting Defendant Paulina Bartolewski to operate a

                    truck when it knew or should have known that defendant Paulina Bartolewski

                    was not capable to operate that truck in a safe manner;

                 (d) Negligently hiring, training, retaining and entrusting the vehicle to defendant

                    Paulina Bartolewski thereby causing the dangerous, careless, negligent, and

                    reckless operation of its vehicle involved in the aforesaid accident.

        31.      Solely as a result of the negligence, carelessness, and recklessness of defendant

Gianna Utility Construction, plaintiff Winnie Nichols has suffered injuries which are serious and

permanent in nature, including but not limited to a C4-5 bulge, CS-6 right herniation with

annular tear, and C6-7 left herniation resulting in a CS-6 and C6-7 anterior cervical discectomy

and fusion and instrumented arthrodesis. Plaintiff Winnie Nichols also suffered a Tl-2

herniation; bulging disc annuli at L3-4, L4-5 and LS-S 1; low back pain with bilateral lumbar

radiculopathy; cervicalgia with bilateral cervical radiculopathy and scarring on her neck from the

cervical discectomy, which injuries have caused her to seek medical treatment.

        32.     As a result of the negligence, carelessness, and recklessness of defendant Gianna

Utility Construction, plaintiff Winnie Nichols has been or will be required to receive and

undergo medical attention and to expend various sums of money and to incur various expenses

and she will be required to continue to expend such sums or incur such expenditures for an

indefinite time in the future.



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        33.     As a result of the negligence, carelessness, and recklessness of defendant Gianna

Utility Construction, plaintiff Winnie Nichols has a medically determined physical impairment

which prevents plaintiff Winnie Nichols from adequately performing all or substantially all of

the material acts and duties which constitute plaintiff Winnie Nichols's usual customary

activities prior to the accident.

        34.     As a further result of the negligence, carelessness, and recklessness of defendant

Gianna Utility Construction, plaintiff Winnie Nichols has or may hereinafter incur other

financial expenses which do or may achieve amounts that plaintiff Winnie Nichols may

otherwise be entitled to recover including payment for medical bills.

       35.      As a direct result of the negligence, carelessness, and recklessness of defendant

Gianna Utility Construction, plaintiff Winnie Nichols has or may hereinafter suffer severe

physical pain, mental anguish, humiliation, embarrassment and scarring and she will continue to

suffer same for an indefinite time in the future.

       36.      As a further result of the negligence, carelessness, and recklessness of defendant

Gianna Utility Construction, plaintiff Winnie Nichols suffered a loss oflife's pleasures which

may continue into the future.

       37.      As a further result of the negligence, carelessness, and recklessness of defendant

Gianna Utility Construction, plaintiff Winnie Nichols has and may continue to suffer severe loss

of her earnings and an impairment of earning capacity and power.

       WHEREFORE, plaintiff Winnie Nichols demands judgment in her favor and against

defendant Gianna Utility Construction, in an amount in excess of $75,000 plus punitive damages,

costs, expenses, attorney's fees and other amounts deemed appropriate by this Honorable Court.

                                     COUNT III
               PLAINTIFF WINNIE NICHOLS V DEFENDANT KEVIN CROCKER

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       38.      Plaintiffs incorporate by reference paragraphs 1 through 26 inclusive of their

complaint as if fully set forth herein at length.

       39.      At all times material hereto, defendant Kevin Crocker negligently and carelessly

hired, trained, retained, and entrusted Defendant Paulina Bartolewski, to operate the vehicle

owned by Defendant Kevin Crocker.

       40.      Defendant Kevin Crocker is derivatively and vicariously liable for the negligent,

careless, and reckless conduct, including conduct that showed a reckless disregard to the rights of

plaintiff Winnie Nichols, of its agent, servant, and/or employee, Defendant Paulina Bartolewski,

as stated herein, pursuant to the principles of agency, vicarious liability, and/or respondeat

supenor.

       41.      Defendant Kevin Crocker's direct negligence and carelessness consisted of the

following:

                (e) Failing to hire competent and safe employee/drivers;

                (t) Failing to properly train such employee drivers;

                (g) Hiring, retaining and entrusting Defendant Paulina Bartolewski to operate a

                   truck when it knew or should have known that defendant Paulina Bartolewski

                   was not capable to operate that truck in a safe manner;

                (h) Negligently hiring, training, retaining and entrusting the vehicle to defendant

                   Paulina Bartolewski thereby causing the dangerous, careless, negligent, and

                   reckless operation of its vehicle involved in the aforesaid accident.

       42.      Solely as a result of the negligence, carelessness, and recklessness of defendant

Kevin Crocker, plaintiff Winnie Nichols has suffered injuries which are serious and permanent in

nature, including but not limited to a C4-5 bulge, CS-6 right herniation with annular tear, and

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C6-7 left herniation resulting in a C5-6 and C6-7 anterior cervical discectomy and fusion and

instrumented arthrodesis. Plaintiff Winnie Nichols also suffered a Tl-2 herniation; bulging disc

annuli at L3-4, L4-5 and L5-S 1; low back pain with bilateral lumbar radiculopathy; cervicalgia

with bilateral cervical radiculopathy and scarring on her neck from the cervical discectomy,

which injuries have caused her to seek medical treatment.

          43.      As a result of the negligence, carelessness, and recklessness of defendant Kevin

Crocker, plaintiff Winnie Nichols has been or will be required to receive and undergo medical

attention and to expend various sums of money and to incur various expenses and she will be

required to continue to expend such sums or incur such expenditures for an indefinite time in the

future.

          44.      As a result of the negligence, carelessness, and recklessness of defendant Kevin

Crocker, plaintiff Winnie Nichols has a medically determined physical impairment which

prevents plaintiff Winnie Nichols from adequately performing all or substantially all of the

material acts and duties which constitute plaintiff Winnie Nichols's usual customary activities

prior to the accident.

          45.      As a further result of the negligence, carelessness, and recklessness of defendant

Kevin Crocker, plaintiff Winnie Nichols has or may hereinafter incur other financial expenses

which do or may achieve amounts that plaintiff Winnie Nichols may otherwise be entitled to

recover including payment for medical bills.

          46.      As a direct result of the negligence, carelessness, and recklessness of defendant

Kevin Crocker, plaintiff Winnie Nichols has or may hereinafter suffer severe physical pain,

mental anguish, humiliation, embarrassment and scarring and she will continue to suffer same

for an indefinite time in the future.



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        47.        As a further result of the negligence, carelessness, and recklessness of defendant

Kevin Crocker, plaintiff Winnie Nichols suffered a loss oflife's pleasures which may continue

into the future.

        48.        As a further result of the negligence, carelessness, and recklessness of defendant

Kevin Crocker, plaintiff Winnie Nichols has and may continue to suffer severe loss of her

earnings and an impairment of earning capacity and power.

        WHEREFORE, plaintiff Winnie Nichols demands judgment in her favor and against

defendant Kevin Crocker, in an amount in excess of $75,000 plus punitive damages, costs,

expenses, attorney's fees and other amounts deemed appropriate by this Honorable Court.

                                     COUNT IV
               PLAINTIFF BRIAN NICHOLS v PAULINA BARTOLEWSKI, GIANNA
                   UTILITY CONSTRUCTION, AND KEVIN CROCKER

        49.        Plaintiffs incorporate by reference paragraphs 1 through 48 inclusive of their

complaint as if fully set forth herein at length.

        50.        At all times material to this cause of action, plaintiff Brian Nichols is the husband

of plaintiff Winnie Nichols.

        51.        As a direct result of the defendant Paulina Bartolewski, Gianna Utility

Construction, and Kevin Crocker' s negligence, carelessness, and recklessness, plaintiff Brian

Nichols has suffered the loss of society, comfort, companionship, services and consortium of his

wife, plaintiff Winnie Nichols, all to his great detriment and loss.

       WHEREFORE, plaintiff Brian Nichols demands judgment in his favor and against

defendant Paulina Bartolewski, Gianna Utility Construction, and Kevin Crocker in an amount in

excess of $75,000 plus punitive damages, costs, expenses, attorney's fees and other amounts

deemed appropriate by the Honorable Court.


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